








			

								



	




NUMBER 13-07-453-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG  


                                                                                                                      


LLOYD CARLTON PARKS,					                   Appellant,


v.



THE STATE OF TEXAS,						           Appellee.

                                                                                                                      


On appeal from the 284th District Court 

of   Montgomery County, Texas

                                                                                                                      


MEMORANDUM OPINION


Before Justices Rodriguez, Garza, and Vela


Memorandum Opinion by Justice Vela




	On May 18, 2007, appellant, Lloyd Carlton Parks, plead guilty to the offense of
indecency with a child by sexual contact.  See Tex. Penal Code Ann. § 21.11(a)(1)
(Vernon 2003).  After a punishment hearing, the trial court sentenced appellant to ten
years' confinement in the Institutional Division of the Department of Criminal Justice. 
Concluding that "there are no meritorious issues for appeal," appellant's counsel filed a
brief in which he reviewed the merits, or lack thereof, of the appeal.   We affirm.

I.  Compliance with Anders v. California

       Appellant's court-appointed counsel filed an Anders brief in which he has concluded
that there are no appealable issues for this Court to consider.  See Anders v. California,
386 U.S. 738, 744 (1967).  Appellant's brief meets the requirements of Anders.  See id. at
744-45; High v. State, 573 S.W.2d 807, 812 (Tex. Crim. App. [Panel Op.] 1978).  In
compliance with Anders, following his review of the court's file and the transcripts, his
research, and his correspondence with appellant, counsel presented a professional
evaluation of the record including, among other things, a review of grand jury proceedings,
pre-trial motions, research and investigation, competency, sentencing, right to present
evidence during the guilt/innocence and punishment stages, and right to appeal.  See
Anders, 386 U.S. at 744; Currie v. State, 516 S.W.2d 684, 684 (Tex. Crim. App. 1974); see
also High, 573 S.W.2d at 812.

         Counsel has informed this Court that he has reviewed the appellate record and
concludes there are no arguable grounds for reversal.  He has also informed this Court that
he provided appellant with a copy of the transcripts in his case and notified appellant of his
right to review the record and to file a pro se response to counsel's brief and motion to
withdraw.  See Anders, 386 U.S. at 744-45; see also Stafford v. State, 813 S.W.2d 503,
509 (Tex. Crim. App. 1991) (en banc); High, 573 S.W.2d at 813.  More than thirty days
have passed, and no pro se brief has been filed.

II. Independent Review

       The United States Supreme Court advised appellate courts that upon receiving a
"frivolous appeal" brief, they must conduct "a full examination of all the proceedings to
decide whether the case is wholly frivolous."  Penson v. Ohio, 488 U.S. 75, 80 (1988); see
Ybarra v. State, 93 S.W.3d 922, 926 (Tex. App.-Corpus Christi 2003, no pet.). 
Accordingly, we have carefully reviewed the record and have found nothing that would
arguably support an appeal.  See Bledsoe v. State, 178 S.W.3d 824, 826 (Tex. Crim. App.
2005); Stafford, 813 S.W.2d at 509.  We agree with counsel that the appeal is wholly
frivolous and without merit.  See Bledsoe, 178 S.W.3d at 827-28 ("Due to the nature of
Anders briefs, by indicating in the opinion that it considered the issues raised in the briefs
and reviewed the record for reversible error but found none, the court of appeals met the
requirements of Texas Rule of Appellate Procedure 47.1.").

III. Conclusion

        The judgment of the trial court is affirmed.  Additionally, appellant's counsel's motion
to withdraw as appellate counsel is hereby granted.  We order counsel to notify appellant
of the disposition of this appeal and of the availability of discretionary review.  See In re
K.D., S.D., and J.R., 127 S.W.2d 66, 68 n.3 (Tex. App.-Houston [1st Dist.] 2003, no pet.)
(citing Ex parte Wilson, 956 S.W.2d 25, 27 (Tex. Crim. App. 1997) (en banc) (per curiam)).



						

							ROSE VELA	

							Justice



Do not publish.

Tex. R. App. P. 47.2(b).


Memorandum Opinion delivered and

filed this 26th day of June, 2008.


